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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 NATIONAL TREASURY EMPLOYEES
 UNION, et al.,

        Plaintiffs,                                           No. 1:25-cv-00381-ABJ
 v.

 RUSSELL VOUGHT, in his official
 capacity as Acting Director of the
 Consumer Financial Protection Bureau,
 et al.,
        Defendants.



               SUPPLEMENTAL DECLARATION OF ADAM MARTINEZ

        1.     My name is Adam Martinez. I am currently employed at the Consumer Financial
Protection Bureau (“CFPB” or “the Bureau”) serving as its Chief Operating Officer (“COO”) and
Acting Chief Human Capital Officer. I previously submitted a declaration in this matter dated
February 24, 2025. I make this declaration based upon my personal knowledge and information
provided to me in the course of my official duties.

         2.     For purposes of this declaration, I have reviewed Plaintiffs’ Reply Memorandum in
Support of Plaintiffs’ Motion for Preliminary Injunction, ECF No. 40; all of the supplemental
declarations attached to Plaintiffs’ Motion for Leave to File Supplemental Attachments in Support
of their Motion for a Preliminary Injunction, ECF No. 38; as well as the supplemental declarations
attached to Plaintiffs’ Notice of Corrected Attachments, ECF No. 41. I provide this declaration to
clarify and expand upon my previous testimony in light of these materials.

        3.      I have reviewed the declaration that Alex Doe submitted in this case. In her
testimony, A. Doe describes deliberative and predecisional events occurring during the week of
February 10, 2025, including a statement where I referenced the “closure of the agency.” I have
also reviewed the declaration that Blake Doe submitted in this case. In his testimony, B. Doe also
describes deliberative and predecisional events occurring during the week of February 10, 2025,
including a statement where I referenced a “wind down mode.” A. Doe’s testimony and B. Doe’s
testimony regarding my statements are not inaccurate. Prior to Russell Vought’s designation as
Acting Director of CFPB, agency staff had received guidance from DOGE-associated personnel
consistent with those statements, which I believed at the time to reflect the position of agency
leadership, and continued to believe to reflect agency leadership’s position for a brief time
thereafter.
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         4.     In the short time since then, and by the date that I submitted my earlier declaration,
a great deal has evolved at the CFPB. On the evening of February 7, 2025, Russell Vought was
named Acting Director of the agency. Rather than a closure of the agency, Acting Director
Vought’s new leadership has focused on running a substantially more streamlined and efficient
bureau, refocusing its priorities, and “right sizing” the agency. But, from my perspective, a very
fluid situation continued during the week of February 10, 2025, as new leadership started to take
control. Time was needed for new leadership to refocus the Bureau. By the time of my earlier
declaration, however, the situation was somewhat more stable. And now, the Acting Director and
Chief Legal Officer are taking time to assess, listen, and explore the state of the Bureau. Based on
that assessment, new leadership continues to believe that there are substantially more employees
than appropriate for a “right-sized” CFPB. But the new leadership, including the Chief Legal
Officer, have taken a methodical approach to handling the Bureau’s operations and responding to
senior executives who have recommended or requested guidance to perform each of the CFPB’s
critical statutory responsibilities. Moreover, I have personally engaged with several of my
colleagues to guide them through navigating the change and seeking clarification where and when
its needed.

        5.     Notably, the President has nominated Jonathan McKernan to serve as a permanent
Director of the CFPB. Mr. McKernan testified before the Senate Banking, Housing, and Urban
Affairs Committee on February 27. I believe that having a Senate-confirmed permanent Director
for the CFPB will further ensure that the Bureau carries out its statutory responsibilities.

        6.      B. Doe’s testimony refers to an email dated February 11, 2025, in which I stated
that the agency’s Chief Financial Officer (CFO) had been in communication with the Federal
Reserve. As stated in my original declaration, the Bureau has not attempted to transfer any of its
funds back to the Federal Reserve. Moreover, I am not aware of a mechanism to transfer funds
back to the Federal Reserve. That said, CFPB’s CFO did receive an inquiry about whether
“excess” funds from the Bureau Fund could be transferred back to the Federal Reserve. He shared
that as far as he was aware, it could not, and that the only mechanism in statute to account for
unobligated funds is to offset future requests but, pursuant to that inquiry, he would conduct
research, including communicating with the Federal Reserve to determine if there was any
authority or mechanism from the Federal Reserve’s perspective that he was unaware of. Based on
that research, he determined that there indeed is no authority or mechanism to transfer excess funds
back to the Federal Reserve, to transfer excess funds to the Federal Reserve’s control, or to transfer
excess funds to the control of any other entity. The agency has therefore not attempted to do so.
The Bureau only transfers funds for the payment of expenditures incurred in the normal course of
Bureau activities pursuant to its statutory obligations. In fact, pursuant to Dodd Frank, the Bureau
Fund is a separate fund established in the Federal Reserve, and most of the CFPB funds (both the
Bureau Fund and the Civil Penalty Fund) reside at the Federal Reserve. Routinely the Federal
Reserve completes cash disbursements at the CFPB’s request to Treasury-held CFPB accounts for
CFPB operating expenses.
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         7.      I have reviewed the declaration that Drew Doe submitted in this case. D. Doe
testifies that unnamed “Senior Executives” told staff that the CFPB would “not exist[.]” D. Doe
Decl. ¶ 7. In addition to not identifying the individuals, D. Doe does not identify the date when
he claims these statements were made. D. Doe does not testify that those statements were premised
on directives from Acting Director Vought or the CFPB Chief Legal Officer and I understand those
statements to be inconsistent with their directives. It is also inconsistent with the President
nominating a permanent Director of CFPB.

        8.      I have reviewed the declaration that Matthew Pfaff submitted in this case, which is
dated February 26, 2025. On February 27, 2025, the CFPB Chief Legal Officer activated work
related to compliance with the agency’s critical statutory responsibilities in the area of the Office
of Consumer Response. Thus, as of February 27, 2025, members of the Escalated Case
Management team, for example, are working. These actions and others are inconsistent with D.
Doe’s testimony suggesting that the agency will eliminate all positions except for five positions
identified in the Dodd-Frank Act. Again, I am not aware of the identity of the “multiple Senior
Executives” referenced in D. Doe’s testimony, and D. Doe does not testify that those statements
were premised on directives from Acting Director Vought or the CFPB Chief Legal Officer. I
understand the statement referenced in paragraph five of D. Doe’s declaration regarding an
“intention of the leadership” to reduce CFPB staff to “everyone but the five positions required by
the Dodd-Frank Act” to be inconsistent with Acting Director Vought and the Chief Legal Officer’s
directives.

        9.       It is correct that the CFPB Ombudsman Office may not replace or directly resolve
work conducted by the Student Loan Ombudsman position. And as I have previously testified,
that position is currently vacant. But consumers may always utilize the CFPB Ombudsman Office
for support. For example, if a consumer attempts to contact the Student Loan Ombudsman and
receives no response, the consumer may always contact the CFPB Ombudsman to point out the
non-responsiveness of the office and seek support. Again, the CFPB Ombudsman Office helps
ensure that the CFPB continues to engage with the public.

                                                ***

       I declare under penalty of perjury that the foregoing is true and correct.

       Executed in Washington, DC this 2nd day of March, 2025.

                                                      ADAM          Digitally signed by
                                                                    ADAM MARTINEZ

                                                      MARTINEZ      Date: 2025.03.02
                                                      __________________________
                                                                    13:50:36 -05'00'
                                                      Adam Martinez
                                                      Chief Operating Officer
